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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                            10/19/2020
                                                                       :
SIMON ZAROUR and LORI ZAROUR,                                          :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :     15-CV-2663 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
PACIFIC INDEMNITY COMPANY,                                             :     REASSIGNMENT
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment. Any currently scheduled conference

or oral argument before this Court is adjourned pending further order of this Court.

        Additionally, within two weeks of the filing of this Order, the parties are hereby

ORDERED to file on ECF a joint letter, described below, updating the Court on the status of the

case. The joint letter shall not exceed five (5) pages, and shall provide the following information,

to the extent it is relevant, in separate paragraphs:

        1.       Names of counsel and current contact information, if different from the information

                 currently reflected on the docket;

        2.       The status of the appraisal panel’s determination ordered by the Court on February

                 22, 2017 (Dkt. 49);

        3.       A list of all prior settlement discussions, including the date, the parties involved,

                 and the approximate duration of such discussions, if any;
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       4.       A statement of whether the parties have discussed the use of alternate dispute

                resolution mechanisms and indicating whether the parties believe that (a) a

                settlement conference before a Magistrate Judge; (b) participation in the District’s

                Mediation Program; and/or (c) retention of a privately retained mediator would be

                appropriate and, if so, when in the case (e.g., within the next sixty days, after the

                deposition of plaintiff is completed, after the close of fact discovery, etc.) the use

                of such a mechanism would be appropriate; and

       5.       Any other information that the parties believe may assist the Court in advancing

                the case to settlement or trial, including, but not limited to, a description of any

                dispositive or novel issue raised by the case.

       If this case has been settled or otherwise terminated, counsel are not required to submit

such letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or other

proof of termination is filed on the docket prior to the joint letter submission deadline, using the

appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19, available at

http://nysd.uscourts.gov/ecf_filing.php.

       SO ORDERED.

Dated: October 17, 2020                               __________________________________
       New York, New York                                      JOHN P. CRONAN
                                                             United States District Judge




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